                     Case 1:20-cv-03478-CRC Document 1-4 Filed 11/30/20 Page 1 of 2

$2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


                                      81,7('67$7(6',675,&7&2857
                                                                   IRUWKH
                                                           District of Columbia
                                                     BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

   Diamond A Ranch, Western Division, L.L.C. and
          Guadalupe Ranch Corporation


                            3ODLQWLII V
                                 Y                                          &LYLO$FWLRQ1R
         Chad Wolf, in his official capacity as
  Secretary, United States Department of Homeland
                    Security, et al.

                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV Paul Enriquez, Acquisition, Real Estate and Environmental Director
                                          Infrastructure Portfolio, Program Management Office Directorate
                                          United States Border Patrol
                                          24000 Avila Road, Suite 5020
                                          Laguna Niguel, CA 92677



          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Stewart A. Baker
                                          Steptoe & Johnson LLP
                                          1330 Connecticut Avenue, NW
                                          Washington, DC 20036



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                                $1*(/$'&$(6$5&/(5.2)&2857


'DWH
                                                                                          6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                       Case 1:20-cv-03478-CRC Document 1-4 Filed 11/30/20 Page 2 of 2

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              6HUYHU¶VVLJQDWXUH



                                                                                            3ULQWHGQDPHDQGWLWOH




                                                                                              6HUYHU¶VDGGUHVV

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
